                      Case 1:21-mj-00596-RMM Document 1 Filed 09/09/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                       UNITED STATES DISTRICT COURT
                                                                              for the
                                                                   District of Columbia

                  United St.at.es of America                                      )
                               V.                                                 )
                   Gary Wilson-)                                                  )        Case No.
                                                                                  )
                                                                                  )
                                                                                  )
                                                                                  )
                          Defendant(s)


                                                        CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                  Janua.Iy 6, 2021       in the county of __________ in the
                         in the Distiict of     Columbia , the defendant(s) violated:
            Code Section                                                                       Offense Description
            18 USC   § 1512(c)(2) and 2 Obstruction of an Official Proceeding and Aiding & Abetting;
            18 USC   § l 752(a)(l) Entering and Remaining in a Restricted Building or Grounds;
            18 USC   § l 752(a)(2) Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
            40 USC   § 5104(e)(2)(D) Disorderly Conduct in a Capitol Building;
            40 USC   § 5104(e)(2)(G) Parading, Demonstrating, or Picketing in a Capitol Building;
            40 USC   § 5104(e)(2)(B) Entering and Remaining in the Gallery ofCongress;




         This criminal complaint is based on these facts:
  See attached statement of facts.




         N Continued on the attached sheet.


                                                                                                               Complainant's signature

                                                                                                       Matthew Foulger, Special Agent
                                                                                                               Printed name and title

At.tested to by the applicant. in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.

Date:             09/09/2021
                                                                                                                  Judge's signature

City and state:                          Washington, D.C.                                     Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                               Printed name and title
